         Case 1:03-cr-05448-AWI Document 130 Filed 01/24/08 Page 1 of 1




                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,          )
                                   )            1:03-CR-5448 AWI
                    Plaintiff,     )
     vs.                           )
                                   )            ORDER FOR RETURN OF
JUAN MANUEL ZEPEDA-CHAVEZ,         )            NOTE AND DEED OF TRUST
                                   )
                    Defendants.    )
___________________________________)


     The above-named defendant having surrendered to the custody

of the Bureau of Prisons as directed;

     IT IS HEREBY ORDERED that the Note and Deed of Trust

posted in this matter be returned to the surety.

Deed No.:           2004-0050290

Receipt No.:        100-199014


IT IS SO ORDERED.

Dated:    January 23, 2008                /s/ Anthony W. Ishii
0m8i78                              UNITED STATES DISTRICT JUDGE
